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Attomeys for Plaintiff

                    IN TIIE T]NITED STATES DISTRICT COURT

                          FORTHE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                      No. 1:17-cr-00008-TMB
                                            )
                     Plaintiff,             )
                                            ) PLEA AGREEMENT
        vs.                                 )
                                            )
 ROSEANN L. DEMMERT,                        )
                                            )
                     Defendant.
                                            )
                                            )


              Unless the parties jointly inform the Court in writing of any
              additionat agreements, this document in its entirety
              contains the terms of the plea agreement between the
              defendant and the United States. This agreement is limited
              to the District of Alaska; it does not bind other federal,
              state, or local prosecuting authorities.




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I.       SUMMARY OF AGREEMENT, FEDERAL RULE OF CRIMINAL
         PROCEDURE II

         A.     Summary of Agreement

         The defendant agrees to plead guilty to the following counts ofthe Information in

this case: Counts 3 and 4 - Willful Failure to Pay Income Tax, in violation         of

26 U.S.C. $ 7203. The United States will move to dismiss Counts 1 and 2 in exchange

for defendant pleading guilty to Count 3, a violation of26 U.S.C. $ 7203 for calendar

yer    2013, and Count 4, violation of26 U.S.C. $ 7203 for calendar year 2014. The

defendant agrees to pay 5145,220 as restitution for tax loss for all four counts in the

lnformation, for calendar years 2011,2012,2013 md20l4.

         The United States reserves the right to argue that tax loss, for purposes       of

calculating defendant's Base Offense Level under the U.S. Sentencing Guidelines

(U.S.S.G or Guidelines), includes all years from 2006 through 2014, which would total

more than $336,079, but waives the right to include penalties and interest. The defendant

agrees to have as a condition of supervised release that she come into compliance by

paying all individual incomes taxes due through the date of this agreement. The United

States agrees not to prosecute the defendant further         for any other offense related to

conduct known to the govemment that resulted in the charges contained in the

lnformation.

         The defendant will waive all rights to appeal the convictions and sentence imposed

under this agreement, including restitution. The defendant will also waive all rights to




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collaterally attack the convictions and sentence, except on the grounds of ineffective

assistance ofcounsel or the voluntariness of the pleas.

            B.        Federal Rule of Criminal Procedure             ll
            Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure 1l(c)(l)(A) and (B) will control this plea agreement. Thus, the defendant may

not withdraw from this agreement or withdraw her guilty pleas if the Cout rejects the

parties' sentencing recommendations at the sentencing hearing.

II.         CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
            AND OTHER MATTERS AFFECTING SENTENCE

            A.        Charges

                       l.        The defendant agrees to plead guilty to Counts 3 and 4 ofthe

                                 Information charging Willful Failure to Pay Income Tax. a violation

                                 of 26 U.S.C. $ 7203.


            B.         Elements

            The elements of the charges in Counts 3 and 4 to which the defendant is pleadirg

guilty are       as   follows:

                       1.        First, the defendant owed taxes at the end   of   calendar year 2013

                                 (Count 3) and 2014 (Count 4);

                       2.        Second, the defendant failed to timely pay the taxes owed by       April

                                 15,2014 for Count 3 and by April 15,2015 for Count 4,        as   required

                                 by Title 26 of the United States Code; and

                       3.        Third, in lailing to do so, the defendant acted willfully.

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            C.     Factual Basis

            The defendant admits the truth of the allegations in Counts 3 and 4 of the

Information and the truth ofthe following statement, and the parties stipulate that the

Court may rely upon this statement to support the factual basis for the guilty pleas and for

the imposition of the sentence:

            The defendant, Roseanne Demmert, filed her individual income tax returns jointly

with her husban4 Archie Demmert, for each calendar year 2006 through            20   14. All of her

retums showed a tax due and owing. The defendant willfully failed to timely pay in full

the taxes she knew were due and owing for the calendar years 2006 through 2009, and

201      I through 2014. The approximate tax loss for the year 201 I   is $41,827, for 2012 is

$29,735, for 2013 is $39,164, and for 2014 is $34,494, as charged in Counts l-4, totals

approximately $145,220, without penalties and interest. The tax loss for purposes of the

U.S. Sentencing Commission Guideline's calculation from 2006 to 2014 is approximately

$336,079, which does not include penalties and interest.

            D.     Statutory Penalties and Other Matters Affecting Sentence

                   l.       Statutorv Penalties

            The maximum statutory penalties applicable to the charges to which the defendant

is pleading      guilty, based on the facts to which the defendant will admit in support of the

guilty pleas, are as follows For each count of 26 U.S.C. $ 7203 (Willful Failure to Pay

Income Tax):

                   l) Not   more than   I year in prison;

                   2) $100,000 fine;

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               3) One year supervised release; and

               4) $25 special assessment.

               2.      Other Matters Alfecting Sentence

                       a.      Conditions affecting the defendant's sentence

       The following conditions may also apply and affect the defendant's sentence:

1) pursuant to Comment 7       of U.S.S.G. $ 581.2, the Court may impose an additional fine

to pay the costs to the govemment of any imprisonment and supervised release term;

2) pursuant to 18 U.S.C.$ 3612(D, unless otherwise ordered, if the Court imposes a fine

of more than $2,500, interest will be charged on the balance not paid within l5 days after

the judgment date; 3) upon violating any condition of supervised release, a further term

of imprisonment equal to the period of the supervised release may be imposed, with no

credit for the time already spent on supervised release; 4) the Court may order the

defendant to pay restitution (these sections do not apply to Title 26)pursuant        to the 18

U.S.C. $ 3663 and U.S.S.G. $ 5E1.1, and       if l8 U.S.C.     $   36634 (mandatory restitution for

certain crimes) applies, the Court shall order the defendant to pay restitution as agreed by

the parties in Section Il.E.

                       b.      Payment of Special Assessment

       The defendant agrees to pay the entire special assessment in this case on the day

the Court imposes the sentence.     All   payments    will   be by check or money order. and are

to be delivered to the Clerk of Court, United States District Court, 222 W . 7th Ave. Box

4, Rrn. 229, Anchorage, AK 995 1 3-7564.




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       E.      Restitution

       The defendant agrees that the Court   will order restitution to the Intemal Revenue

Service to be determined at sentencing. Defendant agrees she owes at least $145,220.00,

calculated as follows: The approximate tax loss for the year 2011 is $41,827, for 2012 is

$29,735, for 2013 is $39,164, and for 2014 is $34,494, as charged in Counts l-4.

Defendant agrees to pay restitution for Counts I through 4, totaling approximately

$145,220, without penalties and interest. Defendant agrees this restitution is owed, with

jointly and severally liability, with co-defendants who may be convicted of the offenses

alleged in Counts 3 and 4 of the Information. The defendant agrees this restitution is

owed joint and several with her husband and co-defendant Archie Demmert, who is

charged in Counts 3 and 4 ofthe lnformation. The defendant agrees that $71,562 ofthe

restitution amount encompasses relevant conduct for Counts      1 and 2   of the Information,

which is beyond the counts of conviction.

       Defendant agrees that the total amount of restitution reflected in this agreement

results from defendant's criminal conduct. Defendant agrees not to file any claim for

refund of taxes or interest represented by any amount of restitution paid pursuant to this

agreement. Defendant agrees that restitution is due and payable immediately after the

judgment is entered and is subject to immediate enforcement, in full, by the United

States. If the Court imposes a schedule of payments, Defendant agrees that the schedule

of payments is a schedule of the minimum payment due, and that the payment schedule

does not prohibit or   limit the methods by which the United   States may immediately




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enforce the judgment in     full.   The IRS will use the amount of restitution ordered as the

basis for a civil assessment under 26 U.S.C. g 620I(a)(a).

          Defendant does not have the right to challenge the amount of this restitution-based

assessment. See 26 U.S.C. $     6201(a)( XC). Neither the existence of              a   restitution

payment schedule nor Defendant's timely payment of restitution according to that

schedule    will preclude the IRS from immediately collecting the full amount of the

restitution-based assessment. Defendant is entitled to receive credit for restitution paid

pursuant to this plea agreement against those assessed civil tax liabilities due and owing

for the same periods for which restitution was ordered.

          Defendant understands and agrees that the plea agreement does not resolve the

Defendant's civil tax liabilities, that the IRS may seek additional taxes, interest, and

penalties from Defendant relating to the conduct covered by this plea agreement and for

conduct relating to another time period, and that satisfaction ofthe restitution debt does

not settle, satisff, or compromise Defendant's obligation to pay any remaining civil tax

liability. Defendant authorizes release of information to the IRS for purposes of making

the civil tax and restitution-based assessments.

          Defendant understands that she is not entitled to credit with the IRS for any

payment until the payment is received by the IRS.               If full payment   cannot be made

immediately, Defendant agrees to make a complete and accurate financial disclosure to

the IRS on forms prescribed by the IRS (including, but not limited to, IRS Form 433-4

and Form 433-8, as appropriate), and to disclose to the IRS any and all additional




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financial information and financial statements provided to the probation office.

Defendant also agrees to provide the above-described information to the probation offrce.

       Defendant agrees to send all payments made pursuant to the Court's restitution

order to the Clerk ofthe Court at the following address:

       United States District Court
       222W.7th Ave.
       Box 4, Rm.229
       Anchorage, AK 99 5 1 3 -7 564

       With each payment to the Clerk of the Court made pursuant to the District

Court's restitution order, defendant will provide the following information:

       l.      Defendant's name and Social Security number;

       2       The District Court and the docket number assigned to this case;

       J       Tax year(s) or period(s) for which restitution has been ordered; and

       4      A statement that the payment      is being submitted pursuant to the   District
               Court's restitution order.

       Defendant agrees to include a request that the Clerk ofthe Court send the

information, along with Defendant's payments, to the IRS address below:

       IRS - RACS
       Attn: Mail Stop 6261, Restitution
       333 W. Pershing Ave.
       Kansas City, MO 64108

UI.    ADVISORY UNITED STATES SENTENCING GUIDELINES, GUIDELINE
       APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS

       A.      Advisory United States Sentencing Guidelines

       The Court must consult the advisory United States Sentencing Commission

Guidelines as well as the factors set forth in 18 U.S.C. $ 3553(a) when considering the

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sentence to      impose. The U.S.S.G. do not establish the statutory maximum or minimum

sentence applicable to the offenses to which the defendant is pleading           guilty. The

U.S.S.G. are not mandatory and the Court is not bound to impose a sentence

recommended by the U.S.S.G.

            B.     GuidelineApplicationAgreements

            The parties have no agreements on any guideline applications unless set forth

below in this section.

                   1.       Acceptance of responsibility

            If the United   States concludes that the defendant has satisfied the criteria set out   in

U.S.S.G. $ 3E1.1 and the applicable application notes, the United States agrees to

recommend the defendant for a two level downward adjustment for acceptance                 of

responsibility and, if U.S.S.G. $ 381.1(b) applies, to move for the additional one level

adjustment for acceptance of responsibility. If, at any time prior to imposition of the

sentence, the United States concludes that the defendant has failed to          fully satisfy the

criteria set out in U.S.S.G. $ 3El.l, or has acted in       a   manner inconsistent with the terms

of this plea agreement, including acceptance of responsibility, the United States will not

make or, if already made,         will withdraw this recommendation and motion.

                   2.       U.S.S.G. $$ 2T1.1(a(l) and 2T4.1(G)

            The United States waives the right to include penalties and interest in the tax loss

calculation but maintains the ability to argue for the tax loss total to include 2006 through

2009 and 2011 through 2014. Ttre approximate total tax loss the United States             will   argue

applies in this case is greater than $250,000 but less than $550,000.

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       C.             SentencingRecommendations

       The United States Probation Office will prepare the defendant's pre-sentence

report in which it will include a recommended calculation of the defendant's Guidelines'

range under the U.S.S.G. Both the United States and the defendant                      will have the

opporhnity to argue in support ofor in opposition to the Guidelines' range calculation

the U.S.P.O. recommends, as well as present evidence in support of their respective

sentencing arguments.

       The parties are free to recommend to the Court their respective positions on the

appropriate sentence to be imposed in this case based on the stipulated facts set forth in

Section II.C, any additional facts established at the imposition of sentence hearing, the

applicable statutory penalty sections, the advisory U.S.S.G., and the sentencing factors

set forth   in   18   U.S.C. $ 3553.

ry.    ADDITIONAL AGREEMENTS BY UNITED STATES

       In exchange for the defendant's guilty pleas and the Court's acceptance of the

defendant's pleas and the terms of this agreement, the United States agrees that it will not

prosecute the defendant further for any other offense                  -   now known   -   arising out ofthe

investigation related to the charges brought in the lnformation in this case and the

defendant's admissions set forth in Section II.C.

       Provided, howeveq if the defendant's guilty pleas or sentence are rejected,

withdrawn, vacated, reversed, set aside, or modified at any time, in any proceeding, for

any reason, the United States          will be free to prosecute the defendant on all charges arising

out ofthe investigation of this case including any charges dismissed pursuant to the terms

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of this agreement, which charges will be automatically reinstated as well as for perjury

and false statements. The defendant hereby agrees that she waives any defense that the

statute of limitations bars the prosecution of such reinstated charges.

v           WAIVER OF TRIAL RIGTITS, APPELLATE RIGHTS, COLLATERAL
            ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, AND
            RULE 4IO

            A.     Trial Rights

            Being aware of the following, the defendant waives these trial rights:

                      Ifpleading to an Information, the right to have the charges presented to

                      the grand jury prior to entering the guilty plea;

                      The right to a speedy and public trial   byjury on the factual   issues

                      establishing guilt or any fact affecting the mandatory minimum and

                      statutory penalties, and any issue affecting any interest in any assets

                      subject to forfeiture;

                      The right to object to the composition ofthe grand or     trialjury;

                      The right to plead not guilty or to persist in that plea if it has already

                      been made;

                      The right to be presumed innocent and not to suffer any criminal penalty

                      unless and until the defendant's guilt is established beyond a reasonable

                      doubt;

                      The right to be represented by counsel at trial and if necessary to have a

                      counsel appointed at public expense to represent the defendant at trial      -

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                          the defendant is not waiving the right to have counsel continue to

                          represent the defendant during the sentencing phase of this case;

                          The right to confront and cross examine witnesses against the defendant,

                          and the right to subpoena witnesses to appear in the defendant's behalf;

                          The right to remain silent at trial, with such silence not to be used

                          against the defendant, and the right to testify in the defendant's own

                          behalq and

                          The right to contest the validity of any searches conducted on the

                          defendant's property or person.

             B.       Appellate Rights

             The defendant waives the right to appeal the convictions resulting from the entry

of guilty pleas to the charges set forth in this agreement. The defendant further agrees

that if the Court imposes a sentence that does not exceed the statutory maximum penalties

-       as set   forth in Section II.D above in this agreement, the defendant waives without

exception the right to appeal on all grounds contained in l8 U.S.C. $ 3742 the sentence

the Court imposes. The defendant understands that this waiver includes, but is not

limited to, forfeiture (if applicable), terms or conditions of probation (if applicable) or

supervised release, any fines or restitution, and any and all constitutional [or legal]

challenges to defendant's convictions and guilty pleas, including arguments that the

statute to which defendant is pleading guilty is unconstitutional, and any and all claims

that the statement of facts provided herein is insufficient to support defendant's pleas           of

guilty.

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          By waiving these rights, the defendant understands that the convictions and

sentence the Court imposes      will be final. No other court will conduct appellate review of

the convictions or the sentence.

          The defendant agrees that the appellate and collateral attack waivers contained

within this agreement will apply to any l8 U.S.C. $ 3582(c) modifications,        as   well   as   the

district court's decision to deny any such modification.

          Should the defendant file a notice of appeal in violation ofthis agreement, it       will

constitute a material breach of the agreement. The govemment is free to reinstate any

dismissed charges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to l8 U.S.C. $ 3553(e).

          C.     Collateral Attack Rights

          The defendant agrees to waive all rights to collaterally attack the resulting

convictions and/or sentence, including under 28 U.S.C. $ 2255,       -   including terms or

conditions of probation (if applicable) or supervised release, and any fines or restitution           -
the Court imposes. The only exceptions to this collateral attack waiver are as follows:

l)    any challenge to the conviction or sentence alleging ineffective assistance of counsel          -
based on information not now known to the defendant and whictr" in the exercise           of

reasonable diligence, could not be known by the defendant at the time the Court imposes

sentence; and 2) a challenge to the voluntariness of the defendant's guilty pleas.

          D.     Claim for Attorney Fees and Costs

          Because this is a negotiated resolution ofthe case, the parties waive any claim for

the award of attomey fees and costs from the other party.

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               E.       Evidence Rule 410 and Fed.      R Crim.    P. 11(f)

               By signing this agreement, the defendant admits the truth of the facts in the

Factual Basis portion of this agreement set forth in Section            II.C. The defendant   agrees

that the statements made by her in signing this agreement shall be deemed usable and

admissible against the defendant as stipulations in any hearing, trial or sentencing that

may follow, even if the defendant fails to enter a guilty plea pursuant to this agreement.

The foregoing provision acts as a modification, and express waiver, of Federal Rule                 of

Evidence          41   0 and Federal Rule of Criminal Procedure I 1(f).

VI.            ADEQUACY OF TIIT' AGREEMENT

               Pursuant to Local Criminal Rule 11.2(dX7) and (8), this plea agreement is

appropriate in that it conforms with the sentencing goals that would otherwise be

applicable to the defendant's case if the defendant had gone to trial and had been

convicted on all counts in the charging instrument.

VII.           THE DEFtrNDANT'S ACCEPTANCE OF THE TERMS OF THIS PLEA
               AGREEMENT

               I, Roseann Demmert, the defendant, affirm this document contains all of the

agreements made between              me    with the assistance of my attomey   -   and the United

States regarding my pleas. There are no other promises, assurances, or agreements the

United States has made or entered into with me that have affected my decision to enter

any plea of guilty or to enter into this agreement. If there are any additional promises,

assurances, or agreements, the United States and             I will jointly inform the Court in writing

before I enter my guilty pleas


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          I understand that no one, including my attorney, can guarantee the outcome of my

case or what sentence the Court may impose            if I plead guilty. If anyone, including my

attomey, has done or said anything other than what is contained in this agreement, I             will

inform the Court when I stand before it to enter my plea.

          I enter into this agreement understanding and agreeing that the conditions set forth

herein are obligatory and material to this agreement and that any failure on my part to

fulfill   these obligations   will constitute   a material breach   of this agreement. If I breach

this agreement, I agree the United States, in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any charges arising out of the

investigation in this matter. If my compliance with the terms of this plea agreement

becomes an issue, at an appropriate hearing, during which I agree any of my disclosures

will be admissible, the Court will determine whether or not I have violated the terms of

this agreement. I understand the govemment's burden to prove               a breach   will be by a

preponderance of the evidence.

          I understand the Court will ask me under oath to answer questions about the

offenses to which I am pleading guilty and my understanding ofthis plea agreement. I

understand that I may be prosecuted         ifl   make false statements or give false answers and

may suffer other consequences set forth in this agreement.

          I have read this plea agreement carefully and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

enter my pleas. I enter into this agreement knowingly and voluntarily. I understand that

anything that I discuss with my attomey is privileged and confidential, and cannot be

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discussed tbe statutos applicabre to my ofrcose and sentence
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                                                   Atuney for   Roseann Demmert


        on behalf ofthe unitedstates, the follo',ing ac'epts the defetrdatrt's off., to plead
guilty under the terms of this plea agreernenl


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